            Case 2:15-cr-00176-TLN Document 329 Filed 05/02/18 Page 1 of 2


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4
     Attorney for Defendant
5    THONGCHONE VONGDENG

6
                             IN THE UNITED STATES DISTRICT COURT
7
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9
     UNITED STATES OF AMERICA,               )   Case No.: 2:15-CR-176 TLN
10                                           )
                        Plaintiff,           )   STIPULATION AND ORDER CONTINUING
11                                           )   JUDGMENT AND SENTENCING
     vs.                                     )
12                                           )   Date: June 14, 2018
     THONGCHONE VONGDENG,                    )   Judge: Honorable Troy L. Nunley
13                                           )   Time: 9:30 a.m.
                        Defendant.           )
14                                           )

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16         The parties hereby stipulate the following:

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           1. Judgment and sentencing in this matter is presently set for May 10,
18
              2018.   Counsel for the parties request the date for judgment and
19
              sentencing be continued to June 14, 2018 at 9:30 a.m.     Assistant
20
              U.S. Attorney Rosanne Rust has been advised of this request and has
21
              no objection.    U.S. Probation has also been advised of this request.
22
              The parties request the Court adopt the following schedule
23
              pertaining to the presentence report:
24
              Judgment and Sentencing date:                                  6/14/18
25
              Reply, or Statement of Non-Opposition:                         6/7/18
26
              Motion for Correction of the Presentence Report
27            Shall be filed with the Court and served on the
              Probation Officer and opposing counsel no later
28            than:                                                           n/a
              Case 2:15-cr-00176-TLN Document 329 Filed 05/02/18 Page 2 of 2


1
               The Presentence Report shall be filed with the
2              Court and disclosed to counsel no later than:                  n/a
               Counsel’s written objections to the Presentence
3              Report Shall be delivered to the probation officer
               and opposing Counsel no later than:                            n/a
4
               The Presentence Report shall be filed with the
5              Court And disclosed to counsel no later than:                  n/a

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7
     Dated:   April 30, 2018                      /s/ John R. Manning
8                                                 JOHN R. MANNING
                                                  Attorney for Defendant
9                                                 Thongchone Vongdeng

10
     Dated:   April 30, 2018                      McGregor W. Scott
11                                                United States Attorney

12                                                by:   /s/ Rosanne Rust
                                                  ROSANNE RUST
13                                                Assistant United States Attorney

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15
                                          ORDER
16
     IT IS SO FOUND AND ORDERED this 2nd day of May, 2018.
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21                                                    Troy L. Nunley
                                                      United States District Judge
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